     Case: 1:21-cv-02232 Document #: 49 Filed: 10/07/24 Page 1 of 1 PageID #:624

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.2
                                 Eastern Division

Jacqueline Stevens, et al.
                                       Plaintiff,
v.                                                     Case No.: 1:21−cv−02232
                                                       Honorable Georgia N Alexakis
US Department of Justice, et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 7, 2024:


       MINUTE entry before the Honorable Georgia N Alexakis:The Court grants
summary judgment [29] to all defendants (ICE, CBP, USCIS, EOIR, DON, DOS, USDA,
& DOJ). The Clerk is directed to enter judgment in defendants' favor. Civil case
terminated. (See attached Order for further detail).(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
